Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 1 of 10
                                                                      536

 1                UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA
 2
        IN RE: OIL SPILL BY              MDL NO. 2179
 3      THE OIL RIG
        "DEEPWATER HORIZON"              SECTION:         J
 4      IN THE GULF OF
        MEXICO, ON APRIL 20,             JUDGE BARBIER
 5      2010                             MAG. JUDGE SHUSHAN
 6




12
13
14                            VOLUME 2 OF 2
15          Deposition of DOUG SUTTLES taken in the
16    Mardi Gras Room, Pan American Life Center,
17    601 Poydras Street, New Orleans, Louisiana,
18    on Friday, May 20, 2011.
19
20    APPEARANCES:
21    ON BEHALF OF THE PLAINTIFFS STEERING
      COMMITTEE:
22        LEVIN, PAPANTONIO, THOMAS, MITCHELL,
          ECHSNER, RAFFERTY & PROCTOR, PA
23        (BY: BRIAN H. BARR, ESQUIRE)
          316 S. Baylen Street, Suite 600
24        Pensacola, Florida 32502
25


                           GAUDET, KAISER, L.L.C.
                        Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 2 of 10
                                                                      797

 1    Transocean is no longer part of the preferred
 2    provider organization within the BP structure
 3    such that Transocean cannot be used as a
 4    contractor for another drilling rig that
 5    isn't currently under contract?
 6             A.        I -- I haven't -- I'm not --
 7    I'm -- I'm personally not aware of any
 8    conversations saying that Transocean can't be
 9    used as a provider for drilling services.
10             Q.        Right.     Exhibit 4 -- Tab 4, I'm
11    sorry.        It's previously marked as
12    Exhibit 1488.         This is Amendment 38 to the
13    drilling contract.           If you want to turn to
14    page 2, second page, you'll see that.                    Do you
15    see that, sir?
16             A.        Which bit?       The first line?
17             Q.        Yes, sir.
18             A.        I see the first line.
19             Q.        Let me tell you what -- it's
20    previously been used in this case before.                      It
21    is the -- the extension, a three years'
22    extension of the DEEPWATER HORIZON drilling
23    contract that was signed September 28, 2009,
24    shortly after the audit, the timeout, and the
25    allowing to go back to work that we just went

                           GAUDET, KAISER, L.L.C.
                        Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 3 of 10
                                                                      798

 1    through chronologically.              Are you with me,
 2    sir?
 3             A.        Yes.
 4             Q.        All right.       This is a contract
 5    between my client Transocean and BP American
 6    Production Company.
 7                       What is the relationship, to
 8    your knowledge, between BP American
 9    Production Company and the company you were
10    COO over?
11             A.        Well, I was COO over the
12    organizational entity called Exploration &
13    Production, and I believe BP America
14    Production is a subsidiary of BP.                   Certain of
15    its assets are held within that company is my
16    understanding.
17             Q.        When you say a subsidiary of BP,
18    what are you referring to, BP what, mother --
19    mothership BP?
20             A.        Well, I -- I -- I -- I actually
21    don't know the legal string here.                   I --
22    ultimately subsidiaries of the BP Group.
23             Q.        Well, let's start out and go
24    through just a little organizational chart in
25    your life.       I recall you said earlier this

                           GAUDET, KAISER, L.L.C.
                        Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 4 of 10
                                                                      799

 1    afternoon that you were over a number of
 2    other subsidiaries of BP in addition to the
 3    organizational group called BP Exploration &
 4    Production.        Did I hear that correctly, sir?
 5             A.        I believe during my tenure I was
 6    a director on some of the BP subsidiaries.
 7             Q.        As of April 20, 2010, what
 8    companies did you have either a director or
 9    an officer role in for BP?
10             A.        I don't know that list as I sit
11    here today.
12             Q.        Give me one or two.
13             A.        To be honest, I'm not sure I
14    can -- the -- the legal names -- I'd have to
15    see a list.        I'm sorry.       I just can't give
16    you the legal names as I sit here today.
17             Q.        Okay.     Can you give me one or
18    two of the companies you were either an
19    officer or a director of when you left BP and
20    went into retirement?
21             A.        As I said, I'd -- I'd have to --
22    I'd have to go see the list.                These -- these
23    names have all sorts of names, and I'd have
24    to go back and see it.             I don't -- I don't
25    recall.

                           GAUDET, KAISER, L.L.C.
                        Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 5 of 10
                                                                      800

 1             Q.        I got an easy one.           You get a
 2    retirement check every month?
 3             A.        No, I don't actually, no.
 4             Q.        You are in a complicated
 5    situation, aren't you?
 6             A.        Exactly.
 7             Q.        All right.       Did you have any
 8    relationship with BP American Production
 9    Company in 2010?
10             A.        That particular subsidiary, I
11    don't know.
12             Q.        Okay.     Well, this is a
13    three-year drilling contract that runs at
14    $497,000 a day, which means that, roughly,
15    this contract on a three-year basis, this
16    extension, is about a half billion -- little
17    more than a half-billion-dollar contract.
18    Are you with me, sir?
19             A.        I am, yes.
20             Q.        What type of authority within
21    the BP structure in 2010 did that sort of
22    contract require?
23             A.        I -- I don't know the exact
24    level.        It would have -- it would have either
25    required -- it would at a minimum have

                           GAUDET, KAISER, L.L.C.
                        Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 6 of 10
                                                                      801

 1    required Andy's authority.               It may have
 2    required Tony Hayward, the C -- group CEO's
 3    authority or endorsement anyway.
 4             Q.        So when you get into
 5    half-billion-dollar contracts, that -- that
 6    requires some high-up authority?
 7             A.        Our financial control process,
 8    yes, would require.
 9             Q.        What was your authority?
10             A.        At the -- at the -- April 2010,
11    it may have been a hundred million.                   I'd have
12    to go back to the exact --
13             Q.        But this contract was well above
14    you?
15             A.        Yes, I didn't have authority --
16    I don't believe I had the authority to sign
17    something of this size.
18             Q.        On the next page, there is a
19    Article XXI.        And I'm about to ask you a
20    question that -- that my instincts tell me
21    not to ask, but I'm just too curious.
22                       There's a thing called affiliate
23    in this BP contract.            And it says:        Direct or
24    indirect ownership of a power to vote with
25    respect to outstanding shares of a

                           GAUDET, KAISER, L.L.C.
                        Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 7 of 10
                                                                      802

 1    corporation's capital stock constituting
 2    50 percent or more of the votes of any class
 3    of sub -- corporation's outstanding voting
 4    stock.
 5                       Do you see that, sir?
 6             A.        I see that on the page, sir.
 7             Q.        What is an affiliate in the BP
 8    organization --
 9             MS. KARIS:
10                       Object --
11    EXAMINATION BY MR. ROBERTS:
12             Q.        -- by that definition?
13             MS. KARIS:
14                       Object to form.
15             A.        Yeah, I -- I would have to
16    consult with our contract attorneys to know.
17    EXAMINATION BY MR. ROBERTS:
18             Q.        Do you know who the affiliates
19    are of BP American Production Company?
20             MS. KARIS:
21                       Object to form.
22             A.        As I sit here today, I don't
23    think I could -- I -- I don't know those as I
24    sit here.
25    EXAMINATION BY MR. ROBERTS:

                           GAUDET, KAISER, L.L.C.
                        Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 8 of 10
                                                                      803

 1             Q.        Who are the affiliates of BP
 2    Exploration & Production, the organizational
 3    unit you were COO of?
 4             A.        Given that -- I don't -- I don't
 5    know if BP Exploration & Production was a
 6    legal entity, so I don't know if it had a --
 7    a direct affiliate.           As you can imagine, a
 8    global corporation like BP is a -- has a
 9    complex legal entity structure, and I'm not
10    an expert in that area.             I just -- these
11    are -- these are issues I relied on others.
12             Q.        Okay.     If you would, turn to
13    page 15, it's still in the same tab, it's
14    page 41561.
15             A.        Okay.
16             Q.        And on the left-hand side,
17    41561, you'll see highlighted a section
18    E.2.3, ram type preventers, and on the
19    right-hand side highlighted on page 41562,
20    E.2.4, stack configuration.               Do you see
21    those, sir?
22             A.        I see that on the page, yes.
23             Q.        We've already covered that you
24    don't know how this technically comes about
25    in these BP contracts because you're not a

                           GAUDET, KAISER, L.L.C.
                        Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 9 of 10
                                                                      804

 1    BOP stack configuration expert, correct?
 2             A.        We had experts in the -- in the
 3    company who would set the requirements for
 4    these things, and I -- I -- I -- I don't
 5    believe I've ever actually seen this -- I
 6    don't recall ever seeing this contract
 7    before.
 8             Q.        But, clearly, BP has folks
 9    within its organization that look over the
10    technical requirements necessary for the BP
11    drilling and exploration program to come up
12    with these types of specifications?
13             MS. KARIS:
14                       Object to form.
15             A.        That -- that would -- that's --
16    would be my understanding, yes.
17    EXAMINATION BY MR. ROBERTS:
18             Q.        Let me ask you to turn to
19    page 41490.        There is a attachment one there
20    called the BP Code of Conduct.                 Do you see
21    that, sir?
22             A.        Yes, I do.
23             Q.        It says -- in part, it says:               BP
24    wishes to make it clear that it intends its
25    business dealings to be characterized by

                           GAUDET, KAISER, L.L.C.
                        Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 3788-7 Filed 08/22/11 Page 10 of 10
                                                                      805

 1    honesty and freedom from deception and fraud
 2    and that it finds unethical behavior
 3    unacceptable.         Practices that BP considers
 4    dishonest, unethical, or unacceptable include
 5    the following, one of which is deception.
 6                       Do you see that, sir?
 7             A.        Yes, I do.
 8             Q.        Certainly, it would be a
 9    violation of BP's own code of conduct for any
10    person within BP to enter into a contract not
11    intending to comply with the contractual
12    terms of the contract it entered into --
13             MS. KARIS:
14                       Object --
15    EXAMINATION BY MR. ROBERTS:
16             Q.        -- fair enough?
17             MS. KARIS:
18                       Object to form.
19             A.        You know, my expectation at the
20    organization, we'd always be acting in
21    compliance with the contracts we had in
22    place.
23    EXAMINATION BY MR. ROBERTS:
24             Q.        And that includes, over in Texas
25    where you went to school, if you give a man

                           GAUDET, KAISER, L.L.C.
                         Board-Certified Court Reporters
